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Gabriel Del Virginia, Esq.                                         Hearing Date: February 20, 2019
LAW OFFICES OF GABRIEL DEL VIRGINIA                                Hearing Time: 2:00 p.m.
30 Wall Street, 12th Floor
New York, New York 10005
Telephone: 212-371-5478
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Proposed Attorneys for the Debtor
and Debtor in Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
In re

EDWARD M. YAMBO MD, PC,                                            Chapter 11


                           Debtor.                              Case No. 18-74496 (AST)
--------------------------------------------------------------X
  NOTICE OF HEARING TO CONSIDER DEBTOR’S MOTION FOR ORDER,
   PURSUANT TO SECTIONS 105(a), 363(b), (f) AND (m) AND 365 OF THE
     BANKRUPTCY CODE AND RULES 6004 AND 6006 OF THE FEDERAL
  RULES OF BANKRUPTCY PROCEDURE: (I) APPROVING THE SALE OF
   CERTAIN ASSETS OF THE DEBTOR FREE AND CLEAR OF ALL LIENS,
    CLAIMS AND ENCUMBRANCES AND APPROVING THE ASSOCIATED
 ASSET PURCHASE AGREEMENT; (II) AUTHORIZING THE ASSUMPTION
      AND ASSIGNMENT OF THE DEBTOR’S NON-RESIDENTIAL REAL
          PROPERTY LEASE; AND, (III) GRANTING RELATED RELIEF

         PLEASE TAKE NOTICE THAT a hearing will be held before the

Honorable Alan S. Trust, United States Bankruptcy Judge, on February 20, 2019 at

2:00 p.m. at the United States Bankruptcy Court for the Eastern District of New

York, Alfonse D’Amato Federal Courthouse, 290 Federal Plaza, Room 690, Central

Islip, New York 11722, or as soon thereafter as counsel may be heard, to consider the

Debtor’s motion (the “Sale Motion”) for the entry of an order (the “Sale Order”),

pursuant to sections 105(a), 363(b), (f) and (m), and 365 of title 11 of the


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United States Code §§ 101 et seq. (the “Bankruptcy Code”) and Rules 6004 and

6006 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”): (i)

authorizing and approving the sale (the “Sale”) of certain of the Debtor’s assets,

specifically the “Assets” described in the proposed Asset Purchase Agreement

annexed hereto (the “Assets”), to Caremed Primary and Urgent Care, P.C. (the

“Buyer”), free and clear of all liens, claims and encumbrances and approving that

certain Agreement of Purchase and Sale of Medical Practice Assets (the “APA”)

executed in connection therewith; (ii) authorizing and approving the assumption

and assignment of the Debtor’s interest in its lease of non-residential real

property (the “Lease”) pursuant to § 365 of the Bankruptcy Code; and, (iii)

granting related relief;

         PLEASE TAKE FURTHER NOTICE that the hearing to consider the Sale

Motion may be adjourned from time to time, without further written notice to any

party;

         PLEASE TAKE FURTHER NOTICE that responses, if any, to the relief

sought in the Sale Motion must be made in writing, shall conform to the Federal

Rules of Bankruptcy Procedure and the Local Bankruptcy Rules of the United States

Bankruptcy Court for the Eastern District of New York, with a hard copy delivered

to Chambers and served upon: (i) counsel to the Debtor, the Law Offices of Gabriel

Del Virginia, 30 Wall Street, 12th Floor, New York, New York 10005, Attn: Gabriel

Del Virginia, Esq.; (ii) the Offices of the United States Trustee for the Eastern

District of New York, U.S. Federal Office Building, 201 Varick Street, Room




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1006, New York, New York 10014; and (iii) parties having filed notices of

appearance in this chapter 11 case so as to be received no later than 4:00 p.m. on

February 13, 2019. Responses not timely filed and served may not be considered by

the Court.

       PLEASE TAKE FURTHER NOTICE that if no responses are timely filed

and served, the Bankruptcy Court may grant the relief requested in the Sale Motion

without further notice to any party.


Dated: New York, New York
       January 23, 2019
                                          Law Offices of Gabriel Del Virginia
                                          Proposed Counsel for the Debtor

                                        By:    /s/ Gabriel Del Virginia
                                               Gabriel Del Virginia
                                               30 Wall Street, 12th Floor
                                               New York, New York 10005
                                               Telephone: 212-371-5478
                                               Facsimile: 212-371-0460
                                               Email: gabriel.delvirginia@verizon.net




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LAW OFFICES OF GABRIEL DEL VIRGINIA                                Hearing Time: 2:00 p.m.
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Proposed Attorneys for the Debtor
and Debtor in Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
In re

EDWARD M. YAMBO MD, PC,                                            Chapter 11


                           Debtor.                              Case No. 18-74496 (AST)
--------------------------------------------------------------X
     DEBTOR’S MOTION FOR ORDER, PURSUANT TO SECTIONS 105(a),
   363(b), (f) AND (m) AND 365 OF THE BANKRUPTCY CODE AND RULES
           6004 AND 6006 OF THE FEDERAL RULES OF BANKRUPTCY
  PROCEDURE: (I) APPROVING THE SALE OF CERTAIN ASSETS OF THE
             DEBTOR FREE AND CLEAR OF ALL LIENS, CLAIMS AND
         ENCUMBRANCES AND APPROVING THE ASSOCIATED ASSET
   PURCHASE AGREEMENT; (II) AUTHORIZING THE ASSUMPTION AND
 ASSIGNMENT OF THE DEBTOR’S NON-RESIDENTIAL REAL PROPERTY
                    LEASE; AND, (III) GRANTING RELATED RELIEF

  To:      THE HONORABLE ALAN S. TRUST
           UNITED STATES BANKRUPTCY JUDGE

        Edward M. Yambo MD, PC, the debtor and debtor in possession (the “Debtor”

or “Seller”), by and through its counsel, the Law Offices of Gabriel Del Virginia,

as and for its motion (the “Sale Motion”) seeking entry of an order (the “Sale

Order”), pursuant to sections 105(a), 363(b), (f) and (m), and 365 of title 11 of

the United States Code §§ 101 et seq. (the “Bankruptcy Code”) and Rules 6004




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and 6006 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”):

(i) authorizing and approving the sale (the “Sale”) of certain of the Debtor’s assets,

specifically the “Assets” described in the proposed Asset Purchase Agreement

annexed hereto (the “Assets”), to Caremed Primary and Urgent Care, P.C. (the

“Buyer”), free and clear of all liens, claims and encumbrances and approving that

certain Agreement of Purchase and Sale of Medical Practice Assets (the “APA”)

executed in connection therewith; (ii) authorizing and approving the assumption

and assignment of the Debtor’s interest in its lease of non-residential real

property (the “Lease”) pursuant to § 365 of the Bankruptcy Code; and, (iii)

granting related relief. In support of the Sale Motion, the Debtor respectfully

represents:

                                 JURISDICTION
      1.      This Court has jurisdiction herein pursuant to 28 U.S.C. §§ 157 and

1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory

predicates for the relief sought herein are §§ 105(a), 363(b) and 365 of the

Bankruptcy Code and Bankruptcy Rules 6004 and 6006.

                                CASE BACKGROUND
      2.      The Debtor filed its voluntary petition for relief under chapter 11 of the

Bankruptcy Code on July 3, 2018 (the "Petition Date"). The Debtor continues to

manage its property as a debtor and debtor-in-possession.

      3.      No trustee or examiner has been appointed in this Bankruptcy Case,

and no official committee of unsecured creditors has been appointed.




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          4.       By Order dated August 21, 2018, the Court waived the requirement of

a patient care ombudsman. [Docket No. 23].

          5.       The Debtor is a New York Corporation providing medical services to

the community. The Debtor operates from its premises located at 41 Brentwood

Road, Bay Shore, New York 11706 (the “Premises”).

          6.       The Debtor filed for bankruptcy on an exigent basis to preserve a

settlement agreement with the Internal Revenue Service (the “IRS”).

                               SUMMARY OF RELIEF SOUGHT
          7.       The Debtor seeks the entry of an Order substantially in the form

submitted herewith:

                     a.     Approving the sale of the Assets free and clear of all liens,
               claims and encumbrances as set forth in, and pursuant to, the APA
               annexed hereto as Exhibit B to Caremed for the Purchase Price 1,
               pursuant to § 363 of the Bankruptcy Code; and

                      b.     Authorizing the assumption and assignment of the Debtor’s
               interest in the Lease to Caremed.

                                        TERMS OF SALE

          8.       The significant terms of the Asset Purchase Agreement are as follows:


    Buyer                     Caremed Primary and Urgent Care PC
    Assets                       (a)  all of the patient lists maintained by the Seller and
                                     its employees at the Office;
                                 (b) all of the electronic patient charts and records (the
                                     “Records”) maintained by the Seller and its
                                     employees at the Office;
                                 (c) the following telephone and facsimile numbers
                                     utilized by the Seller: Telephone: (631) 968-0800 and
                                     Fax: (631) 665-0816;
                                 (d) all of the furniture, equipment and supplies owned

1   Capitalized terms not otherwise defined herein are ascribed the meaning provided in the APA.


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                            by the Seller at the Office;
                       (e) the Lease; and
                       (f) all office-related software and transferable and
                            applicable licenses, except medical practice license in
                            the name of Seller, Good Will, Covenant not to
                            compete, Supplies and instruments.
Excluded Assets     Buyer is not purchasing or assuming:
                       (a) any of the liabilities of the Seller;
                       (b) those items which are expressly excluded from the
                           Assets as more specifically set forth in Exhibit "B" to
                           the APA, if any; and
                       (c) the accounts receivable arising from services
                           performed by the Seller and its employees and
                           independent contractors prior to the Closing Date.
Purchase Price       As more fully set forth in paragraph 2 of the APA, Buyer
                     will purchase the Asserts for Two-Hundred and Fifty
                     Thousand Dollars ($250,000) payable as follows:
                       (a) Edwardo M. Yambo MD, PC - $215,000.00
                              • $75,000 Certified Check; and
                              • $140,000 to be paid in 35 monthly installments.
                       (b) PracticePro (Billing Company holding Electronic
                           Patient Record) - $35,000 Certified Check.
Assignment of the    Seller shall assign, and Buyer shall assume, the Lease.
Seller’s Lease
Sale Not Subject    The sale of the Assets to the Buyer shall not be subject to
to Higher and       higher and better offers. The Debtor has determined in its
Better Offers       business judgment that the offer made by the Buyer is the
                    highest and best offer likely to be obtained by a purchaser
                    who will be capable of complying with all regulatory
                    requirements for the purchase of the Assets. Further, the
                    Debtor has actively worked to locate a purchaser since the
                    Petition Date and the Buyer is the only potential purchaser
                    who came forward with the ability both to finance the
                    purchase of the Assets and obtain the necessary regulatory
                    approvals to do so.




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Seller’s           The Seller hereby represents and warrants to the Buyer:
Representations      • Seller is the lawful owner of and in actual possession
and Warranties           of the Assets.
                     • Seller has all requisite power and authority to enter
                         into and consummate the APA and the transactions
                         contemplated herein.
                     • Seller has good and marketable title to the Assets
                         being sold and transferred hereunder and all of such
                         Assets are free and clear of all liens, mortgages,
                         pledges, security interests, conditional sale
                         agreements, encumbrances and charges whatsoever,
                         and no third-party person or entity has any ownership
                         interest in or any rights of any kind in or to any of the
                         Assets.
                     • There are no disputes ongoing or known between the
                         Seller and any of its employees, independent
                         contractors or agents and all compensation and fringe
                         benefits owed by the Seller to its employees,
                         independent contractors and/or agents have been paid
                         by the Seller or will be paid by the Seller in full by the
                         Closing Date or as soon as possible thereafter. Seller
                         warrants that the employment contracts for current
                         employees at Seller's Bayshore Office as of the Closing
                         Date are attached as Exhibit "E” to the APA.
                     • The patient lists and Records being purchased and/or
                         transferred under the APA are true and accurate and
                         have not been copied, disclosed or otherwise revealed
                         to any third parties as of the Closing Date, other than
                         as required by law or regulation, and the Seller shall
                         not maintain any such information or Records (or
                         copies thereof) and has not and shall not encourage or
                         otherwise assist any third party in doing so.
                     • As of the Closing Date, the equipment sold hereunder
                         shall be in good working condition.




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Buyer’s                The Buyer hereby represents and warrants:
Representations          • Buyer has all requisite power and authority to enter
and Warranties              into and consummate the APA.
                         • The APA is valid, binding, and legally enforceable
                            against the Buyer in accordance with its terms.
                         • The execution and performance of the APA by the
                            Buyer will not violate any provision of law, will not
                            (with or without the giving of notice and/or the
                            passage of time) conflict with or result in any breach
                            of any of the terms or conditions of, or constitute a
                            default under any indenture, mortgage, agreement or
                            other instrument to which the Buyer is a party or by
                            which the Buyer is bound.


Closing Date           The date upon which the sale and purchase of the Assets
                       pursuant to the APA will be completed transferring legal
                       ownership of those rights to the Buyer.

Bankruptcy Court        The APA is the subject to the approval by the
Approval                Bankruptcy Court on notice to all creditors and parties-
                        in-interest.

                           EXTRAORDINARY PROVISIONS
      9.      In accordance with the Guidelines, the following are “extraordinary

provisions” of the proposed Sale and the basis therefore:

           Private Sale/No           The Assets are being sold to the Buyer in a
           Competitive Bidding       private sale and without an auction and, as
                                     such, shall not be subject to higher and better
                                     offers. After extensively marketing the Assets
                                     since the Petition Date, and based upon its
                                     extensive knowledge of the industry and of the
                                     Debtor’s business, the Assets, and its operations,
                                     the Debtor has determined in its business
                                     judgment that the offer made by the Buyer is the
                                     highest and best offer likely to be obtained for the
                                     Assets from any purchaser which will be capable
                                     of complying with all regulatory requirements for
                                     the purchase of the Assets. The Buyer is the only
                                     potential purchaser who came forward with the
                                     ability to finance the purchase of the Assets.




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  Use of Proceeds              The Sale Proceeds shall be used by the Seller in
                               compliance with the Bankruptcy Code and any
                               orders of the Bankruptcy Court, including the
                               payment      of Chapter     11   administrative
                               obligations.

  No Good Faith Deposit Due to the type of business, and the necessary
                        approvals required of any potential purchaser,
                        the Debtor had a very limited market in which to
                        market the Assets. As a result of the limited
                        potential purchaser market, the Debtor was
                        unable to obtain any higher or better offer from
                        any other potential purchaser and, indeed,
                        received no offer from any potential purchaser
                        willing to provide a good faith deposit.
  Records Retention     Pursuant to the APA, the Debtor is transferring
                        certain books and records to the Buyer. The
                        Debtor will retain, or have reasonable access to,
                        its books and records to enable it to continue to
                        administer this case in compliance with its
                        obligations under the Bankruptcy Code.
  No Successor Liability       The Sale Order contemplates entry of certain
                               findings as to successor liability. As set forth in
                               additional detail herein, the sale of the Assets
                               contemplates the transfer of the Assets free and
                               clear of all liens, claims and encumbrances. As
                               such, the findings set forth in the Sale Order
                               comply with applicable principles of sales free and
                               clear of claims pursuant to section 363(f) of the
                               Bankruptcy Code. Additionally, the notice of the
                               hearing on this Sale Motion provides specific
                               notice to all recipients entitled to notice that the
                               sale is free and clear of all liens, claims and
                               encumbrances including claims pursuant to any
                               successor or successor in interest liability theory.
  Waiver of 14-day stay        The Debtor is requesting that the Court waive
  provided under               the 14-day stay provided under Bankruptcy Rule
  Bankruptcy Rule              6004(h).
  6004(h)




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                                 BASIS FOR RELIEF

A.    Debtor’s Sale is an Exercise of the Debtor’s Sound Business
      Judgment, in the Best Interests of the Debtor and meets the fairness
      standard to an insider
      10.  The sale of the Assets is based upon the sound business judgment of

the Debtor.    See, e.g., In re Chateaugay Corp., 973 F.2d 141 (2d Cir. 1992);

Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 772 F.2d 1063,

1071 (2d Cir. 1983); In re Adelphia Commc’ns Corp., No. 02-41729 (REG) (Bankr.

S.D.N.Y. July 31, 2002). See also, Official Comm. of Sub. Bondholders v.

Integrated Res., Inc. (In re Integrated Res., Inc.), 147 B.R. 650, 656 (S.D.N.Y. 1992),

appeal dismissed, 3 F.3d 49 (2d Cir. 1993), quoting Smith v. Van Gorkom, 488 A.2d

858, 872 (Del. 1985) (“the business judgment rule ‘is a presumption that in

making a business decision the directors of a corporation acted on an informed

basis, in good faith and in the honest belief that the action was in the best interests

of the company,’” which has         continued applicability in bankruptcy). Section

363(b)(1) of the Bankruptcy Code provides, in relevant part, that a debtor in

possession, "after notice and a hearing, may use, sell, or lease, other than in the

ordinary course of business, property of the estate." 11 U.S.C. § 363(b)(l).

Additionally, section 105(a) provides, in relevant part, that “[t]he court may issue

any order, process, or judgment that is necessary or appropriate to carry out the

provisions of this title.” 11 U.S.C. § 105(a).

      11.     It is generally understood that “[w]here the debtor articulates a

reasonable basis for its business decisions (as distinct from a decision made

arbitrarily or capriciously), courts will generally not entertain objections to the


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debtor’s conduct.” In re Johns-Manville Corp., 60 B.R. 612, 616 (Bankr. S.D.N.Y.

1986). The burden of rebutting the presumption that a debtor has acted on an

informed basis, in good faith and in the honest belief that the action taken was in

the best interests of the company, once it has been established, falls upon parties

opposing the proposed exercise of a debtor’s business judgment. See In re Integrated

Res., Inc., 147 B.R. 650, 656 (S.D.N.Y. 1992) (quoting Smith v. Van Gorkom, 488

A.2d 858, 872 (Del. 1985)), appeal dismissed, 3 F.3d 49 (2d Cir. 1993).

      12.    Once a court is satisfied that there is a sound business judgment for

the proposed sale, the court must then determine whether: (i) the debtor has

provided interested parties with adequate and reasonable notice; (ii) the sale price

is fair and reasonable; and (iii) the purchaser is proceeding in good faith. In re

Betty Owens Sch., 1997 U.S. Dist. Lexis 5877, *12 (S.D.N.Y. 1997) (citing In re

Delaware & Hudson Ry., 124 B.R. 169, 176 (D. Del. 1991)).

      13.    In   the   instant   matter,   the   Debtor   believes   ample   business

justification exists to approve the proposed sale of the Assets. The Debtor, with the

assistance of its professionals, has been marketing the Assets since the Petition

Date. The Buyer came forward with the highest and best offer for the Assets as well

as the ability to continue operations so as to provide uninterrupted service to

existing patients.   The Buyer also has the financial wherewithal to finance the

transaction and the ability to obtain the necessary regulatory approvals in order to

continue operations.




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       14.    The Debtor has proposed the sale of the Assets after thorough

consideration of viable alternatives. Ultimately, the Debtor has concluded that

the sale to the Buyer is in the best interests of the creditors of the estate as

well as the patients served. Accordingly, and for all the foregoing reasons, the

Debtor submits t h a t its decision and agreement to sell the Assets pursuant to the

terms of the APA is based on its sound business judgment and is in the best

interests of its estate and its creditors.

B.     The Buyer is a Good Faith Buyer and is Entitled to the Protection of
       Section 363(m) of the Bankruptcy Code
       15.   Section 363(m) of the Bankruptcy Code provides:

                The reversal or modification on appeal of an authorization
                under subsection (b) or (c) of this section of a sale or lease of
                property does not affect the validity of a sale or lease under
                such authorization to an entity that purchased or leased
                such property in good faith, whether or not such entity
                knew of the pendency of the appeal, unless such
                authorization and such sale or lease were stayed pending
                appeal.

  11 U.S.C. § 363(m).
      16.    Although the Bankruptcy Code does not define “good faith,” the

Second Circuit held in Kabro Assocs. of West Islip, LLC v. Colony Hill Assocs. (In re

Colony Hill Assocs.), 111 F.3d 269 (2d Cir. 1997) that:

                The ‘good faith’ component of the test under § 363(m)
                speaks to the equity of the [bidder’s] conduct in the
                course of the sale proceedings. Typically, the misconduct
                that would destroy a purchaser’s good faith status at the
                judicial sale involves fraud, collusion between the purchaser
                and other bidders or the trustee, or an attempt to take grossly
                unfair advantage of other bidders.

  111 F.3d at 276.



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        17.   The APA has been negotiated at arm’s length and in good faith by

the Debtor and the Buyer. Moreover, the executed APA reflects a give-and-take

and negotiated compromises by both sides. Accordingly, the Buyer is a good faith

purchaser entitled to the protection afforded by section 363(m) of the Bankruptcy

Code.

C.      The Assumption and Assignment of the Lease is a Proper Exercise of
        the Debtor’s Business Judgment
        18.  Section 365(a) of the Bankruptcy Code provides that a debtor,

“subject to the Court’s approval, may assume or reject any executory contract or

unexpired lease.” 11 U.S.C. §365(a). Courts routinely approve motions to

assume, assume and assign, or reject executory contracts or unexpired leases

upon a showing that the debtor’s decision to take such action will benefit the

debtor’s estate and is an exercise of sound business judgment. See Orion Pictures

Corp. v. Showtime Networks Inc. (In re: Orion Pictures Corp.) 4 F.3d 1095, 1099

(2d Cir. 1993) (“A bankruptcy court reviewing a trustee’s or debtor in

possession’s decision to assume or reject an executory contract should examine a

contract and the surrounding circumstances and apply its best ‘business

judgment’ to determine if it would be beneficial or burdensome to the estate to

assume it.”) See also NLRB v. Bildisco & Bildisco, 465 U.S. 513, 523 (1984); In re:

Gucci, 193 B.R. 411, 415 (SDNY 1996).

        19.   Based on its negotiations with the Buyer, a key component of the

sale of the Assets is the assumption and assignment to the Buyer of the Lease.




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Upon information and belief, the Landlord consents to the assumption pursuant to

the terms of the APA by the Debtor and assignment to the Buyer.

D.    The Debtor has Authority to Assume and Assign the Lease

      20.    Bankruptcy Code section 365(b) and (f) sets forth the following

requirements that a debtor in possession must satisfy before it may assume an

executor contract or unexpired lease:

               (b)(1) If there has been a default in an executory contract
               or unexpired lease of the debtor, the trustee may not
               assume such contract or lease unless, at the time of
               assumption of such contract or lease, the trustee –
                 (A) cures, or provides adequate assurance that the
                      trustee will promptly cure, such default …;
                 (B) compensates, or provides adequate assurance that
                      the trustee will promptly compensate, a party
                      other than the debtor to such contract …, for any
                      actual pecuniary loss to such party resulting from
                      such default; and
                 (C) provides adequate assurance of future performance
                      under such contract or lease.

                                         *        *      *

               (f)(2) The trustee may assign an executory contract or
               unexpired lease of the debtor only if –
                 (A) the trustee assumes such contract or lease in
                      accordance with the provisions of this section; and
                 (B) adequate assurance of future performance by the
                      assignee of such contract or lease is provided,
                      whether or not there has been a default in such
                      contract or lease.

  U.S.C. § 365(b)(1), (f)(2); see also, In re ANC Rental Corp., Inc., 277 B.R. 226, 238

  (Bankr. D. Del. 2002) (“Having met the threshold requirement of a sound

  business purpose, the Debtor must also cure any existing default and provide

  adequate assurance of future performance of the assigned contracts.”).


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      21.    Section 365 of the Bankruptcy Code authorizes the proposed

assumption and assignment of the Lease, provided that any defaults thereunder

are cured and adequate assurance of future performance is given. See generally

In re Health Science Prods., Inc., 191 B.R. 895 (Bankr. N.D. Ala. 1995) (ability

to make current payments on contract combined with projected future financial

stability constituted “adequate assurance”; (In re Mako, Inc., 102 B.R. 818 (Bankr.

E.D. Okla. 1988) (willingness and ability to cure defaults and projected cash flows

sufficient to meet obligations under the contract met the “adequate assurance”

requirement).

      22.    Because the term “adequate assurance of future performance” is not

defined in the Bankruptcy Code, court assesses the facts and circumstances of

each case to determine whether there is adequate assurance. See Chera v. 991

Blvd. Realty Corp. Shoes, Inc., 20 B.R. 55, 59 (Bankr. S.D.N.Y. 1982). Adequate

assurance is not synonymous with complete and full assurance. See In re M. Fine

Lumber Co., 383 B.R. 565, 573 (Bankr. S.D.N.Y. 2008) (“A debtor need not prove it

will thrive and make a profit, or provide an absolute guarantee of performance. It

must simply appear that the rent will be paid and other lease obligations met.”).

      23.    With respect to the issue of adequate assurance of future

performance necessary to approve the assumption and assignment of the Lease,

upon information and belief, the landlord under the Lease has indicated that

the Buyer would be an acceptable tenant under the Lease should the Sale




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Motion be granted and the Debtor is authorized to assume and assign the Lease

to the Buyer thus satisfying the adequate assurance requirement.

E.     The Sale of the Debtor's Assets Free and Clear of Liens, Claims and
       Encumbrances is Authorized by Section 363(f) of the Bankruptcy
       Code
       24.  Pursuant to section 363(f) of the Bankruptcy Code, the Debtor may

sell the Assets free and clear of any interest in the property if any one of the

following conditions is satisfied: (1) applicable nonbankruptcy law permits sale of

such property free and clear of such interest; (2) such entity consents; (3) such

interest is a lien and the price at which such property is to be sold is greater than

the aggregate value of all liens on such property; (4) such interest is in bona fide

dispute; or (5) such entity could be compelled, in a legal or equitable proceeding, to

accept a money satisfaction of such interest. 11 U.S.C. § 363(f).

       25.   Section 363(f) of the Bankruptcy Code authorizes the trustee in

certain circumstances to sell the estate's interest in property “free and clear of any

interest in such property of an entity other than the estate.” “Interests in property”

as used in section 363(f) include “claims” that arise from the assets being sold. In

re Chrysler LLC, 576 F.3d 108, 126 (2d Cir.2009), granting cert. & vacating

judgment, Indiana State Police Pension Trust v. Chrysler LLC, 558 U.S. 1087

(2009); In re Trans World Airlines, Inc., 322 F.3d 283, 289–90 (3d Cir. 2003).

Section 363(f) has been interpreted to authorize the bankruptcy court to grant in

personam relief, similar to the discharge under Bankruptcy Code § 1141(d), that

exonerates the buyer from successor liability. Motors Liquidation, 428 B.R. at 57–

59.


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      26.     Courts have noted that extending the “free and clear” provisions to

claims stemming from successor liability preserves the priority scheme of the

Bankruptcy Code and the principle of equality of distribution by preventing a

plaintiff from asserting in personam successor liability against the buyer while

leaving other creditors to satisfy their claims from the proceeds of the asset sale.

Douglas v. Stamco, 363 Fed.Appx. 100, 102 (2d Cir.2010); Trans World Airlines,

322 F.3d at 292; In re Grumman Olson Industries, Inc., 445 B.R. 243, 249 (Bankr.

S.D.N.Y. 2011). Additionally, extending the “free and clear” provisions to protect

purchasers of bankruptcy assets from successor liability maximizes the value of

the assets that are sold. Douglas, 363 Fed.Appx. at 102–03 (“[T]o the extent that

the ‘free and clear’ nature of the sale (as provided for in the Asset Purchase

Agreement (‘APA’) and § 363(f)) was a crucial inducement in the sale's successful

transaction, it is evident that the potential chilling effect of allowing a tort claim

subsequent to the sale would run counter to a core aim of the Bankruptcy Code,

which is to maximize the value of the assets and thereby maximize potential

recovery to the creditors.”) In re Grumman Olson Industries, Inc., 445 B.R. at 250.

      27.    Upon information and belief, the Debtor has no claims against it

whereby the claimant could not be compelled “to accept a monetary satisfaction of

its interest.” 11 U.S.C. § 363(f)(5). Accordingly, the standard for transferring the

property pursuant to section 363(f) free and clear of all liens, claims and

encumbrances is met.




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F.    Request for Waiver of the Stay

      28.    The Debtor requests a waiver of any stay of the effectiveness of the

order approving the relief requested in this Sale Motion. Bankruptcy Rule

6004(h) provides that an "order authorizing the use, sale, or lease of property ...

is stayed until the expiration of 14 days after entry of the order, unless the court

orders otherwise." Due to the need to obtain the Initial Sale Proceeds to satisfy the

Debtor’s obligations under the Lease, the Debtor requests a waiver of the 14-

day stay pursuant to 6004(h). Accordingly, the Debtor submits that more than

ample cause exists to justify a waiver of the fourteen-day stay imposed by

Bankruptcy Rule 6004(h), to the extent it applies.

                                      NOTICE
      29.    Notice of this Sale Motion has been provided to: (a) the U.S. Trustee;

(b) the Buyer and its counsel; (c) all creditors and interested parties in this case;

and (d) all parties that have filed and served, pursuant to Bankruptcy Rule

2002, a Notice of Appearance in this case. In light of the nature of the relief

requested, the Debtor submits that no other or further notice is necessary.


                            NO PRIOR REQUEST
      30.    No previous request for the relief sought in this Sale Motion has

been made to this or any other Court.




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                            CONCLUSION
             WHEREFORE, the Debtor respectfully requests that this Court

enter an order, substantially in the form annexed hereto as Exhibit A,

granting the relief requested in this S a l e Motion and such other and further

relief as may be just and proper.

Dated: New York, New York
       January 23, 2019
                                       Law Offices of Gabriel Del Virginia
                                       Proposed Attorneys for the Debtor
                                       and Debtor in Possession
                                      By: /s/ Gabriel Del Virginia
                                           Gabriel Del Virginia
                                           30 Wall Street, 12th Floor
                                           New York, New York 10005
                                           Telephone: 212-371-5478
                                           Facsimile: 212-371-0460
                                           Email: gabriel.delvirginia@verizon.net




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                               EXHIBIT A

                        PROPOSED ORDER




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
In re

EDWARD M. YAMBO MD, PC,                                            Chapter 11


                           Debtor.                                 Case No. 18-74496 (AST)
--------------------------------------------------------------X

ORDER PURSUANT TO SECTIONS 105(a), 363(b), (f) AND (m) AND 365 OF
THE BANKRUPTCY CODE AND RULES 6004 AND 6006 OF THE FEDERAL
 RULES OF BANKRUPTCY PROCEDURE: (I) APPROVING THE SALE OF
 CERTAIN ASSETS OF THE DEBTOR FREE AND CLEAR OF ALL LIENS,
  CLAIMS AND ENCUMBRANCES AND APPROVING THE ASSOCIATED
ASSET PURCHASE AGREEMENT; (II) AUTHORIZING THE ASSUMPTION
   AND ASSIGNMENT OF THE DEBTOR’S NON-RESIDENTIAL REAL
     PROPERTY LEASE; AND, (III) GRANTING RELATED RELIEF
    Upon the motion (the “Sale Motion”)2 of Edward M. Yambo MD, PC (the

“Debtor” or the “Seller”) by and through its counsel, the Law Offices of Gabriel Del

Virginia, for the entry of an Order (the “Sale Order”), pursuant to sections 105(a),

363(b), (f) and (m), and 365 of title 11 of the United States Code (the “Bankruptcy

Code”) and Rules 6004 and 6006 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”): (i) authorizing and approving the sale (the

“Sale”) of certain of the Debtor’s assets (the “Assets”) free and clear of all liens,

claims and encumbrances as described in the Asset Purchase Agreement (the

“APA”) annexed to the Sale Motion as Exhibit B to Caremed Primary and Urgent

Care, P.C. (the “Buyer”); (ii) authorizing and approving the assumption and

assignment of the Debtor’s interest in its lease dated September 24, 2014 (as

amended, the “Lease”) of non-residential real property located at 41 Brentwood

2Capitalized terms not otherwise defined herein are ascribed the meaning provided in the Sale
Motion.


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Road, Bay Shore, New York 11706 (the “Premises”), pursuant to section 365 of

the Bankruptcy Code in accordance with the APA; and, (iii) granting related

relief; and due and sufficient notice of the Sale Motion having been given under

the particular circumstances; and it appearing that no other or further notice is

necessary; and upon the record of the hearing held by the Court on January __,

2019, on the Sale Motion; it appearing that the relief requested in the Sale Motion

is in the best interests of the Debtor, its estate, its creditors and other parties in

interest; and after due deliberation thereon; and good and sufficient cause

appearing therefor,

        THE COURT FINDS AND DETERMINES THAT:
      A.   Jurisdiction and Venue. The Court has jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157(a) and 1334. Venue of this case and the Motion in this

district is proper under 28 U.S.C. §§ 1408 and 1409. This matter is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (N) and (O).

      B.     Statutory predicates. The statutory predicates for the relief sought in

the Motion and the basis for the approvals and authorizations contained in this Sale

Order are Bankruptcy Code sections 105(a), 363(b), (f) and (m), and 365(a), and

Bankruptcy Rules 2002, 3012 and 6004 and 6006.

      C.     Notice. Due, proper, timely, adequate and sufficient notice of the Sale

Motion and the relief requested therein, the Hearing, and the Sale described in the

APA has been provided in accordance with section 363 of the Bankruptcy Code and

Bankruptcy Rules 2002(a)(2) and 9006, and Local Rule 9077-1(c), and such notice

was good and sufficient, and appropriate under the particular circumstances. No



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other or further notice of the Motion, the relief requested therein and all matters

relating thereto, the Hearing, or entry of this Sale Order is or shall be required.

      D.      Opportunity to Object. A reasonable opportunity to object or be heard

regarding the relief requested in the Motion has been afforded to all interested

persons and entities.

      E.      Marketing Process. The marketing efforts implemented by the Debtor

were fair, proper, and reasonably calculated to result in the best value received for

the Assets.

      F.      Business Justification. The Debtor has articulated good, sufficient, and

sound business reasons for consummating the APA, for the sale of the Assets, and it

is a reasonable exercise of the Debtor’s business judgment to consummate the

transactions contemplated by the APA, including the assumption of the Debtor’s

interest in the Premises in accordance with the APA.

      G.      Private Sale is Warranted. The Debtor has demonstrated that the

private sale of the Assets to the Buyer is appropriate, as the Purchase Price is the

highest and best offer for the Assets that the Debtor has received or likely will

receive from any purchaser qualified to purchase and run the Assets.

      H.      No Good Faith Deposit. Due to the type of business, and the necessary

approvals required of any potential purchaser, the Debtor had a very limited

market in which to market the Assets.          As a result of the limited potential

purchaser market, the Debtor was unable to obtain higher or better offer from any

other potential purchaser willing to provide a good faith deposit.




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      I.     Best Interests. Approval of the APA and the consummation of the Sale

are in the best interests of the Debtor, its estate, its creditors, and other parties in

interest.

      J.     Best Offer. The Purchase Price to be paid by the Buyer pursuant to the

APA is fair consideration and constitutes reasonably equivalent value for the Assets

under the circumstances, as determined by the Debtor’s marketing efforts and

knowledge of the industry and the Assets being sold.

      K.     Arm’s Length Transaction. The APA was negotiated, proposed, and

entered into by the Debtor and the Buyer without collusion, in good faith, and from

arm’s length bargaining positions. The Buyer is not an “insider” of the Debtor, as

that term is defined in section 101(31) of the Bankruptcy Code. Neither the Debtor

nor the Buyer has engaged in any conduct that would cause or permit the APA to be

avoided under section 363(n) of the Bankruptcy Code.

      L.      Good Faith. The Buyer is a good faith purchaser of the Assets within

the meaning of section 363(m) of the Bankruptcy Code and, therefore, is entitled to

all of the protections afforded thereby. The Buyer has proceeded in good faith in all

respects in connection with this proceeding in that: (i) the Buyer in no way induced

or caused the chapter 11 filing of the Debtor; (ii) the Buyer has recognized that the

Debtor was free to deal with any other party interested in acquiring the Assets; and

(iii) the Buyer has disclosed all payments to be made to it pursuant to the APA or

other arrangements entered into by the Buyer in connection with the Sale.




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      M.     Free and Clear. The Assets constitute property of the Debtor’s estate.

The transfer of the Assets to the Buyer will be a legal, valid, binding and effective

transfer of the Assets, and will vest the Buyer with all right, title, and interest of

the Debtor in and to the Assets free and clear of any and all liens, claims (as such

term is defined in section 101(5) of the Bankruptcy Code), including but not limited

to claims resulting from transfer of the Assets and claims based on any theory of

successor liability, encumbrances, mortgages, pledges, security interests, equity

security interests, interests of any kind or nature, charges, actions, title defects,

taxes (including liens for taxes), equitable interests, restrictions on transfer,

options, conditional sale or other title retention devices or restrictions on the

creation of any of the foregoing, whether relating to the Debtor or the Assets, of any

kind or nature, whether or not asserted, known or unknown, whether relating to

any property or the right or the income or profits therefrom and except as otherwise

specifically provided in the APA. Except as specifically provided in the APA, the

Buyer shall have no liability for any claims against the Debtor or its estate or any

liabilities or obligations of the Debtor or its estate. Accordingly, the Debtor may sell

the Assets free and clear of any and all liens, claims and encumbrances, and

adverse claims, except as provided in the APA, because one or more of the

standards set forth in sections 363(f)(1) – 363(f)(5) of the Bankruptcy Code has been

satisfied with regard to each such lien, claim and encumbrance or adverse claim.

Each person or entity with any lien, claim or encumbrance in the Assets: (i) has,

subject to the terms and conditions of this Sale Order, consented to the Sale or is




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deemed to have consented to the Sale; (ii) could be compelled in a legal or equitable

proceeding to accept money satisfaction of such liens, claims or encumbrances; or

(iii) otherwise falls within the provisions of section 363(f) of the Bankruptcy Code.

Those non-debtor parties with liens, claims and encumbrances in or with respect to

the Assets who did not object, or who withdrew their objections to the Sale or the

Sale Motion are deemed to have consented to the sale of the Assets free and clear of

those non-debtor parties’ interests in the Assets pursuant to section 363(f)(2) of the

Bankruptcy Code.

      N.     Assumption/Assignment      of    Lease.   The   Debtor   has   met    all

requirements of section 365(b) of the Bankruptcy Code for the Lease. The Lease

identified in the APA is an unexpired lease of non-residential real property capable

of being assumed and assigned pursuant to section 365 of the Bankruptcy Code.

The Lease is being transferred to the Buyer, pursuant to the terms of the APA, free

and clear of all liens, claims, and encumbrances against the Debtor. The Buyer has

provided adequate assurance of its future performance under the Lease within the

meaning of sections 365(b)(1)(C) and 365(f)(2)(B) of the Bankruptcy Code. Pursuant

to section 365(f) of the Bankruptcy Code, the Lease to be assumed and assigned

shall be assigned and transferred to, and remain in full force and effect for the

benefit of, the Buyer notwithstanding any provision in the Lease or other restriction

prohibiting assignment or transfer of the Lease and pursuant to § 365(k) of the

Bankruptcy Code.     Assignment of the Lease is a material term of the Buyer’s




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agreement to purchase the Assets. The Landlord has consented to the assignment

of the Lease to the Buyer.

      O.     Avoidance and Successor Liability. The transfer of the Assets to the

Buyer shall not result in the Buyer having any liability or responsibility: (i) for any

liens, claims or encumbrances against the Debtor or against any insider of the

Debtor; (ii) for the satisfaction, in any manner, whether at law, or in equity,

whether by payment, setoff or otherwise, directly or indirectly, of any liens, claims

or encumbrances; or (iii) to third parties or the Debtor except as otherwise provided

in the APA. Without limiting the effect or scope of the foregoing, the transfer of the

Assets from the Debtor to the Buyer does not and will not subject the Buyer or its

affiliates, successors or assigns to any liability whatsoever for any liens, claims or

encumbrances against the Debtor or the Debtor’s interests in the Assets by reason

of the operation of the Debtor’s Assets prior to the closing of the Sale or by reason of

such transfer under the laws of the United States, any state, territory, or possession

thereof, or the District of Columbia, based, in whole or in part, directly or indirectly,

in any theory of law or equity including, without limitation, any laws affecting

antitrust, successor, transferee, vicarious liability or similar theories. The Buyer is

not a continuation of the Debtor or its estate and there is no continuity between the

Buyer and the Debtor. Nothing in this Sale Order shall be interpreted to deem, or

does deem, the Buyer as the successor to the Debtor under any state law successor

liability doctrine with respect to any liabilities under environmental or other laws.




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      P.     Compliance with Non-Bankruptcy Law. In satisfaction of sections

363(d) and 541(f) of the Bankruptcy Code, the transfer of the Assets as

contemplated by the Sale complies with applicable non-bankruptcy law governing

such a transfer.

      Q.     WAIVER OF STAY UNDER BANKRUPTCY RULES 6004(h) AND

6006(d). The relief that the Debtor seeks in the Sale Motion is necessary for the

Debtor to preserve value for its estate. Thus, the waiver of the stay pursuant to

Bankruptcy Rules 6004(h) and 6006(d) is warranted.

      R.     Legal and Factual Bases. The legal and factual bases set forth in the

Sale Motion and at the Hearing establish just cause for the relief granted herein.

NOW, THEREFORE, IT IS ORDERED AND ADJUDGED THAT:

      1.     The Sale Motion is GRANTED, as further described herein.

      2.     Objections. All objections to the Sale Motion and the relief requested

therein that have not been withdrawn, waived, or settled, and all reservations of

rights included in such objections, are hereby overruled on the merits and denied.

      3.     Sale Approval. The Sale and all of the terms, conditions and

transactions contemplated by the APA, including but not limited to the Amended

Lease and the APA, are hereby authorized and approved pursuant to section 363 of

the Bankruptcy Code.     Pursuant to section 363(b) of the Bankruptcy Code, the

Debtor is authorized to consummate the Sale pursuant to and in accordance with

the terms and conditions of the APA. The Debtor is authorized to execute and

deliver, and empowered to perform under, consummate, and implement the APA,




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together with all additional instruments and documents that may be reasonably

necessary or desirable to implement the APA and effectuate the provisions of this

Sale Order and the transactions approved hereby, and to take all further actions as

may be requested by the Buyer for the purpose of assigning, transferring, granting,

conveying, and conferring the Assets to the Buyer or reducing to possession, the

Lease, or as may be necessary or appropriate to the performance of the obligations

as contemplated by the APA.       The failure to specifically include any particular

provision of the APA in this Sale Order shall not diminish or impair the efficacy of

such provision, it being the intent of this Court that the APA and each and every

provision, term and condition thereof be authorized and approved in their entirety;

provided, however, that any inconsistency between the terms of the APA (as it may

be amended) and the terms of this Sale Order, the terms of this Sale Order shall

govern.

      4.      Transfer of the Assets. As of the Closing of the Sale, the transactions

contemplated by the APA shall effect a legal, valid, enforceable, and effective sale

and transfer of the Assets to the Buyer, and shall vest the Buyer with all right, title,

and interest of the Debtor in and to the Assets.

      5.     Free and Clear. Except as provided in the APA, the transfer of the

Assets shall vest the Buyer with all right, title, and interest of the Debtor in the

Assets, pursuant to section 363(f) of the Bankruptcy Code, free and clear of any and

all liens, claims and encumbrances, whether arising by statute or otherwise and

whether arising before or after the commencement of this Bankruptcy Case,




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whether known or unknown, including, but not limited to, all liens, claims and

encumbrances of, or asserted by, any of the creditors, vendors, employees, suppliers,

or lessors of the Debtor, or any other third party. Any and all such liens, claims and

encumbrances shall attach to the net proceeds of the Sale with the same priority,

validity, force, and effect as they now have against the Assets. Except as provided

for in the APA, the Buyer shall not be liable (as successor entity or otherwise) for

any liens, claims and encumbrances, including without limitation, statutory claims,

that any of the foregoing parties or any other third party may have against the

Debtor.    All persons and entities asserting or holding any liens, claims and

encumbrances in or with respect to the Debtor (whether legal or equitable, secured

or unsecured, matured or unmatured, contingent or non-contingent, senior or

subordinated), howsoever arising, shall be forever barred, estopped, and

permanently enjoined from asserting, prosecuting or otherwise pursuing such liens,

claims and encumbrances against the Buyer. Each and every federal, state, and

local governmental agency, recording office or department and all other parties,

persons or entities is hereby directed to accept this Sale Order for recordation as

conclusive evidence of the free and clear and unencumbered transfer of title to the

Assets, including but not limited to the Lease, conveyed by the Debtor to the Buyer.

      6.     Surrender of Assets. All entities who are presently, or who as of the

Closing may be, in possession of some or all of the Assets, including but not limited

to the Lease, hereby are directed to surrender possession of such Assets to the

Buyer as of the Closing.




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        7.   Good Faith. The Sale has been undertaken by the Debtor and the

Buyer at arm’s length and without collusion, and the Buyer will acquire the Asset

pursuant to the APA in good faith, under section 363(m) of the Bankruptcy Code,

and is, and shall be, entitled to all of the protections in accordance therewith. The

consideration provided by the Buyer for the Assets under the APA is fair and

reasonable, and the Sale may not be avoided under section 363(n) of the Bankruptcy

Code.

        8.   Required Permits. The Debtor is hereby authorized and directed to

assign all state and federal licenses and permits used in connection with the Assets

that are capable of transfer to the Buyer in accordance with the terms of the APA.

        9.   Release of Liens. Subject to the occurrence of the Closing, this Sale

Order is and shall be effective as a determination that all liens, claims and

encumbrances of any kind or nature whatsoever existing as to the Debtor or the

Assets prior to the date of the Closing shall be, and are, without further action by

any person or entity, unconditionally released, discharged and terminated as to the

Assets, the Debtor’s interests in the Assets, and the Buyer as of the date of the

Closing. All persons or entities possessing any liens, claims and encumbrances with

respect to the Debtor’s interests in the Assets shall deliver to the Debtor and the

Buyer, at the Closing in proper form for filing and executed by the appropriate

person or persons, or entity or entities, termination statements, instruments of

satisfaction, and/or releases of all such liens, claims and encumbrances which such

person or entity has with respect to the Assets.




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      10.   Use of Proceeds.    The Sale Proceeds shall be used by the Seller in

compliance with the Bankruptcy Code and any other orders of the Bankruptcy

Court, including the payment of Chapter 11 administrative obligations under any

Plan and Confirmation Order (if applicable) and any cure obligations under any

executory contracts being assumed and assigned by the Seller to the Buyer.

      11.   Authorization to Release Liens, Claims and Encumbrances. If any

person or entity shall have failed to deliver such termination statements,

instruments of satisfaction, and/or releases at Closing in accordance with paragraph

9 above, then the Debtor and Buyer shall each be authorized to execute any such

termination statements, instruments of satisfaction, and/or releases on behalf of

such person or entity, evidencing the release by such person or entity of its liens,

claims and encumbrances on the Assets as of the date of the Closing.

      12.   Assumption and Assignment of Lease.             The Debtor is hereby

authorized to assume the Lease and assign it to the Buyer pursuant to section 365

of the Bankruptcy Code. The Buyer’s assumption of the Lease is subject to the

Lease attached to the APA and this Order.        Notwithstanding anything to the

contrary in this Sale Order, the Buyer’s assumption of the Lease is expressly

conditioned upon: (i) its delivery of executed guaranties of: (A) Faiza Ali, M.D and

(B) CareMed LLC, in each case in form and substance acceptable to the landlord

under the Lease (the “Landlord”); (ii) the payment of December 2018 rent; (iii) the

timely payment of January 2019 rent; and (iv) the timely and complete performance

by Tenant of all of the tenant’s obligations under the Lease from and after the date




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of this Order (collectively the “Lease Assumption Conditions”). The Buyer shall use

its best efforts to cause each of the Lease Assumption Conditions to occur and shall

be deemed to have not taken possession of the Premises until each of the Lease

Assumption Conditions have been satisfied. Upon entry of this Sale Order and the

completion of each of the Lease Assumption Conditions, the Lease shall be deemed

assigned to the Buyer without further act by any party and the Lease shall be

deemed amended to refer to the Buyer as tenant thereunder. Upon the Debtor’s

assignment of the Lease to the Buyer under the provisions of this Sale Order, and

the completion of each of the Lease Assumption Conditions: (i) the Landlord shall be

deemed to have waived any default arising out of the Debtor’s actions or inactions

prior to the date of the completion of each of the Lease Assumption Conditions, and

(ii) the Landlord shall not be permitted to declare a default thereunder or otherwise

take action against the Buyer as a result of the Debtor’s financial condition,

bankruptcy or failure of the Debtor to perform any of its obligations under the Lease

as it relates to the assignment of such contract to the Buyer. Any provision that

prohibits or conditions an assignment of the Lease or that allows the Landlord to

terminate, recapture, impose any penalty, condition on renewal or extension, modify

any term or condition solely on account of such assignment, constitutes an

unenforceable anti-assignment provision in connection with the Sale to the Buyer

that is void and of no force and effect solely as to the Sale. For the avoidance of

doubt, the Buyer assumes the Lease cum onere and without modification of any

kind, except as otherwise agreed by the Landlord in writing in duly-authorized and




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fully-executed amendment thereto. Notwithstanding the foregoing or any provision

to the contrary in the Lease, the Landlord shall have the option to terminate the

Lease if the Landlord and the Buyer are unable to negotiate a new five-year lease (a

“New Lease”) on or before February 1, 2019. For the avoidance of doubt, a New

Lease shall contain, at a minimum, the following terms and conditions: (i) monthly

rent in the amount of $6,340.41 through August 31, 2019; (ii) a five-year extension,

beginning on September 1, 2019 and ending on August 31, 2024, with the monthly

rent amount to increase 3% each new lease year, beginning on September 1, 2019,

and continuing each September 1 for each year thereafter until September 1, 2023;

(iii) the same terms and conditions contained in the Lease, including, without

limitation provisions for the payment of taxes, that the Premises is leased “as is”,

and any improvements on the Premises are the tenant’s responsibility and must be

acceptable to the Landlord, (iv) that the New Lease shall be guaranteed by all major

equity owners of the Tenant and each of the individuals and entities identified in

the Lease Assumption Conditions; and (v) such other terms and conditions as may

be agreed to by Landlord and Buyer.

      13.    Transfer of Books and Records. The Debtor is authorized to transfer

books and records to the Buyer but must retain, or have reasonable access to, its

books and records to enable it to continue to administer this case in compliance with

its obligations under the Bankruptcy Code.

      14.    WAIVER OF STAY UNDER BANKRUPTCY RULE 6004(h) and

6006(d). Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), this Sale Order




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shall be effective and enforceable immediately upon entry. The Court waives the

fourteen-day stay imposed by Bankruptcy Rules 6004(h) and 6006(d), as the exigent

nature of the relief sought herein justifies immediate relief.

      15.    Binding Effect of Sale Order. This Sale Order shall be binding upon

and shall govern the acts of all entities, including without limitation all filing

agents, filing officers, title agents, title companies, recorders of mortgages, recorders

of deeds, registrars of deeds, administrative agencies, governmental departments,

secretaries of state, federal, state and local officials, and all other persons and

entities who may be required by operation of law, the duties of their office, or

contract, to accept, file, register or otherwise record or release any documents or

instruments, or who may be required to report or insure any title or state of title in

or to the Assets.

      16.    Binding on Successors and Assigns. The terms and provisions of the

APA and this Sale Order shall be binding in all respects upon, and shall inure to the

benefit of, the Debtor, its estate, the Buyer, and their respective affiliates,

successors and assigns and any affected third parties including, but not limited to,

all persons asserting any Claim against the Debtor or the Assets to be sold to the

Buyer, notwithstanding any subsequent appointment of any trustee, responsible

person, estate administrator, representative or similar person (a “Responsible

Person”) for or in connection with the Debtor’s estate or affairs in this case or in any

subsequent cases under the Bankruptcy Code involving the Debtor, as to which




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Responsible Person(s) such terms and provisions likewise shall be binding in all

respects.

      17.    Modifications. The APA and any related agreements, documents, or

other instruments may be modified, amended, or supplemented by the parties

thereto, in a writing signed by both parties, and in accordance with the terms

thereof, without further order of this Court, provided that any such modification,

amendment, or supplement does not have a material adverse effect on the Debtor’s

estate.

      18.    Non-Severability. The provisions of this Sale Order are non-severable

and mutually dependent.

      19.    No Successor Liability. The transfer of the Assets to the Buyer shall

not result in any successor, derivative or vicarious liability or any kind or character,

including, but not limited to federal, state or other tax liabilities, pension liabilities,

or liabilities based on any theory of successor or transferee liability, labor law, alter

ego, continuity or enterprise, mere continuation, de facto merger or substantial

continuity theories, including but not limited to any liability or obligation of any

kind including as a successor to the Seller, including an express release from

liability for any of the Seller’s environmental obligations and pending or threatened

environmental claims and/or Internal Revenue Service claims against the Seller,

any obligation under any collective bargaining agreement and obligations under any

employer pension or employee health or benefit plan of the Seller, or any obligation

relating to the Seller’s liabilities under Medicare or Medicaid.




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      20.    Retention of Jurisdiction. This Court shall retain jurisdiction over all

matters pertaining to the relief granted herein, including to interpret, implement,

and enforce the terms and provisions of this Sale Order and the APA, and to

adjudicate any dispute relating to the Sale of the Assets or the proceeds thereof.

      21.    Headings are included in this Sale Order for ease of reference only.




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                                  EXHIBIT B

                       ASSET PURCHASE AGREEMENT
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           Agreement of Purchase and Sale of Medical Practice Assets

        This Agreement and BILL OF SALE of Purchase and Sale of Medical
Practice Assets effective on the 20th day of January 2019, (hereinater
"Agreement"), is made by and among Caremed Primary and Urgent Care PC,
located at 266 Middle Country Road, Coram NY 11727 (hereinater as "Buyer" or
"Purchaser"), and Edwardo M. Yambo MD P.C. ('P.C ), Dr Edwardo Yambo MD,
located at 41 Brentwood Road, Bay Shore, New York 11706 (hereinater the
"Sellei').

                              WITNESSETH:
      WHEREAS, the Seller owns and operates a private medical practice
which is located at 41 Brentwood Road, Bay Shore, New York 11706 (the
"Bayshore Office" or "Office"); and
                                                                              't
       WHEREAS, P.C. is operating as a debtor-in-possession under chapter 1
of the United States Bankruptcy code, in the United States Bankruptcy court for
the Eastern District of New York (the 'Court") under Case No. 18-74496 (the "Ch.
11 Case"); and

       WHEREAS, the Seller desires to sell and otherwise transfer to the Buyer
certain assets, consisting of the private medical practice located at 41 Brentwood
Road, Bay Shore, New York 11706; and to operate a similar primary care
medical piactice at the location occupied by the Seller, for the benefit of the
Buyer and the existing and future patients of the Practice; the assets to be sold
to Buyer including the furniture, equipment, good will, patient lists and
assignment of existing lease without undue burden to the Buyer. as set forth
below of this Agreement as related to the Bayshore Office; and

       WHEREAS, the Buyer desires to purchase and otherwise take custody of
said assets upon the terms and conditions hereinafter set forth.

        NOW, THEREFORE, for good and valuable consideration, the receipt and
sufficiency of which is hereby acknowledged, the Parties agree as follows:

   Assets Beinq Sold

       .   The Seller hereby sells and transfers to the Buyer, and the Buyer
hereby purchases from the seller, certain assets related to the Bayshore office
(collectively, the "Assets"), upon the terms and conditions set forth herein,
including the following:

             . all of the patient lists maintained by the Seller and its
employees at the Office. A true and accurate list of all the patients to be-
kansferred to Buyer is attached as   Exhibit "A" for the purposes .. of
identification of the patient list, not intended for the purposes to stand guardian



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of said medical records, nor to take physical or virtual possession of          such
medical records;

                 .transfer of all of the patient charts and records maintained by
the Seller and its employees at the Office;

                     the following telephone and facsimile numbers utilized by the
Seller:

                               a   (631) 968-0800 and Fax (631) 665-0816;

                 .   all of the furniture, equipment and supplies owned by the Seller
at the Bayshore Office, as more specifically set forth in Exhibit "B" annexed
hereto;

                     The Lease Agreement annexed hereto as Exhibit "D" and

                 .
                 All office related software and transferable and applicable
licenses, except medical practice license in the name of Seller, Good Will,
Covenant not to compete, Supplies and instruments.

          . The Parties acknowledge that, except as otherwise expressly set forth
herein, the Buyer is not purchasing or assuming: (i) any of the liabilities of the
Seller; (ii) those items which are expressly excluded from the Assets as more
specifically set forth in Exhibit "B" annexed hereto, if any; and (iii) the accounts
receivable arising from services performed by the Seller and its employees and
independent contractors prior to the Closing Date.

   Purchase Price

          .
          ln consideration of the Seller's sale and transfer to the Buyer of the
Assets, the Buyer hereby agrees to pay the Seller the amount of Two Hundred
and Fifty Thousand Dollars ($250,000) (the "Purchase Price"), payable as
follows:

              To Edwardo M. Yambo MD PC, Two Hundred sixty five             thousand
              $215,000.00

                 Seventy-five thousand dollars ($75,000.00) by Certified Check on
                   the Closing Date.

                 One hundred forty thousand dollars ($140,000.00) will be paid in 35
                   monthly installments of $4,000 in first week of every calendar
                   month.


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            To PracticePro ( Billing Company holding Electronic Patient Record)

            Thirty-Five Thousand dollars ($35,000.00) by Certified Check.

.    Broker's Fee

      Each Party hereto acknowledges that no person or entity has acted as a
broker in connection with this Agreement or the transactions contemplated
hereby and that no findeis fee, broker's commission or similar charge is owed to
any such person or entity. ln the event any such claim is made by a broker on
account of the actions of any Party, then such responsible Party shall indemnify
and hold the other Party harmless from and against any such claim.

     Closinq and Court Approval

        . The Closing of the sale and purchase hereunder shall occur in two
stages Closing Date and Effective Date as follows:

            a   Closing Date (hereinafter the "Closing Date") will is when the sale
                and purchase of the Assets pursuant to this Agreement will be
                completed transferring the legal ownership of those rights to the
                Buyer, this will happen upon the execution of this Agreement;

                The Effective Date (hereinafter the "Effective Date"), will be the
                date on which the Buyer will take possession of the Assets
                pursuant to this Agreement, the Effective Date will be on or about
                the Closing Date.

        .  Upon the Closing Date, the Seller shall execute and deliver to the
Buyer: (i) a bill of sale for the Assets being purchased hereunder in the form
annexed hereto as Exhibit "            (ii) all of the patient records and charts
maintained by the Seller annexed hereto as Exhibit "A"; (iii) an assignment of all
rights which the Seller has in the telephone and facsimile numbers specified
above; and (iv) a list of all of the Seller's patients (including their phone numbers
and addresses); (v) other items refened to hereinabove under Section 1; and
(vi)_an assignment of existing lease without undue burden to the Buyer.

        . This Agreement and the transactions contemplated hereunder are
subject to Court approval and entry of a final order, and the Closing Date shall
not occur unless and until such approval is so ordered.

     Representations and Warranties

        .   The Seller hereby represents and warrants to the Buyer, which
representations and warranties shall be true and correct as of the Closing Date

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and shall survive the Closing Date, that:

              . Ownership of the P.C            Seller is the laMul owner of and in
actual possession of the Assets.

              .   Authoritv and Standinq. The Seller has all requisite power and
authority to enter into and consummate this Agreement and the transactions
contemplated herein. This Agreement is valid, binding, and legally enforceable
against the Seller in accordance with its terms. The execution and performance
of this Agreement by the Seller will not violate any provision of law, will not (with
or without the giving of notice and/or the passage of time) conflict with or result in
any breach of any of the terms or conditions of, or constitute a default under, any
indenture, mortgage, agreement or other instrument to which the Seller is a party
or by which the Seller is bound, and will not result in the creation of any lien,
charge or encumbrance upon any of the Assets.

              .   Marketable Title. The Seller has good and marketable title to
the Assets being sold and transferred hereunder and all of such Assets are free
and clear of all liens, mortgages, pledges, security interests, conditional sale
agreements, encumbrances and charges whatsoever, and no third party person
or entity has any ownership interest in or any rights of any kind in or to any of the
Assets.

              . EmplovmenUlndependent Contractor/Agent Relations. There
are no disputes ongoing or known between the Seller and any of its employees,
independent contractors or agents and all compensation and fringe benefits
owed by the Seller to its employees, independent contractors and/or agents have
been paid by the Seller or will be paid by the Seller in full by the Closing Date or
as soon as possible thereafter. Seller wanants that the employment contracts
for current employees at Seller's Bayshore Office as of the Closing Date are
attached as Exhibit "E".

              .  Patient Lists: Records. The patient lists (including addresses
and phone numbers) and records being purchased and/or transferred hereunder
are true and accurate and have not been copied, disclosed or otherwise revealed
to any third parties as of the Closing Date, other than as required by law or
regulation, and the Seller shall not maintain any such information or records (or
copies thereof) and has not and shall not encourage or otherwise assist any third
party in doing so. The Parties acknowledge and agree that the Buyer is relying
upon the foregoing representation and warranty upon entering into this
Agreement.

              .   Equipment. As of    th e Closing Date,       the equipment     sold
hereunder shall be in good working condition.

       .   The Buyer hereby represents and warrants to the Seller,             which
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representations and warranties shall be true and correct as of the Closing Date
and shall survive the Closing Date, that: (i) the Buyer has all requisite power and
authority to enter into and consummate this Agreement; (ii) this Agreement is
valid, binding, and legally enforceable against the Buyer in accordance with its
terms; (iii) the execution and performance of this Agreement by the Buyer will not
violate any provision of law, will not (with or without the giving of notice and/or
the passage of time) conflict with or result in any breach of any of the terms or
conditions of, or constitute a default under any indenture, mortgage, agreement
or other instrument to which the Buyer is a party or by which the Buyer is bound.

.   Adiustments and Appropriations

        .  All operating expenses of the Seller's Bay Shore Practice attributable
to the period prior to Closing shall be paid by the Seller. All operating expenses
of the Bay Shore Practice attributable to the period on and after Closing shall be
borne by the Buyer.

        Should the patient volume reduce by more than 10o/o ol the historical
number of office visits which are 800 per month, the total price will be reduced
proportionately to percentage patient volume decreased. ln any event resulting
closing of 41 Brentwood Rd, Bay Shore NY office, including but not limited to
non-renewal of lease past the period of lease assumption and assignment, buyer
will not held liable for balance of the Purchase price.

    Mutual lndemnitv

       .   The Buyer hereby agrees to indemnify, defend and hold harmless the
Seller from and against any and all costs, liabilities, losses, damages and/or
deficiencies arising or resulting from:

              .any and all: (A) misrepresentations or breaches of warranty
hereunder on the part of the Buyer; (B) failures by the Buyer to perform or
otherwise fulfill any undertaking or other agreement or obligation hereunder; (C)
liabilities of the Buyer which may arise in connection with or are related to its
provision of services at the Office from and after the Closing Date ; and (D) the
payment or non-payment of taxes by the Buyer; and

              .   any and all actions, suits, proceedings, claims,      liabilities,
demands, assessments,       judgments,  costs and expenses, including reasonable
attorneys' fees, incident to the foregoing provisions.

       .   The Seller hereby agrees to indemnify, defend and hold harmless the
Buyer and its shareholders, officers, directors, successors and assigns from and
against any and all costs, liabilities, losses, damages and/or deficiencies arising
or resulting from:




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              .any and all: (A) misrepresentations or breaches of warranty
hereunder on the part of the Seller; (B) failures by the Seller to perform or
otheruise fulfill any undertaking or other agreement or obligation hereunder; and
(C) all liabilities of the Seller, regardless of when such liabilities arose or are
asserted, including, without limitation: (1) any liabilities which may have arisen in
connection with or are related to the provision of services by the Seller and/or its
employees and/or agents and/or the business and operation of the Bayshore
Office; and (2) the payment or non-payment of franchise, payroll, withholding,
Social Security, unemployment insurance, disability and other taxes, employee
wages, third party audits, accounts payable or otheruvise by the Seller; and

              .   any and all actions, suits, proceedings, claims,
                                                                 liabilities,
demands, assessments, judgments, costs and expenses, including reasonable
attorneys' fees, incident to the foregoing provisions.

        (c)   This Section 9 shall survive the Closing Date.

    Medical Records

       .   The Buver aqrees to hold and maintain all patient records and charts
transferred hereunder in accordance with applicable federal and New York State
laws and requlations, and to make same available to Seller. upon reasonable
notice, if access is required bv it to respond to or defend aqainst a malpractice
action. third-partv audit. or oovernmental inquirv/investioation (or promptlv if
requested in writinq bv a oatient who is the subiect of such records). The Buver
shall also orovide reasonable access to the Seller as is reasonablv necessarv to
assist the Seller in collectinq its accounts receivable. A coov of the Medical
Records Custodv Aoreement is annexed hereto as Exhibit "F".

.   Entire Aqreement. This Aqreement is the entire aoreement amonq the Parties
concerninq the subiect matter hereof and suoersedes all prior aqreements,
whether written or oral. lt shall not be chanoed. except bv a writinq siqned bv all
of the Parties hereto. All riqhts and remedies set forth in this Aqreement shall be
in addition to and not exclusive of any other riqhts or remedies now or hereafter
existinq at law or in equitv.

    Savinqs Clause. If anv orovision of this Aqreement or the application of anv
n rovisionhereof to a       rson or cr rat m sla nces is held to be I all invalid
inoperative or unenforceable. then the remaind er of this Aqreement shall not be
affected unless the invalid provision substantiall y impairs the benefit of the
rematntno o ortions of this  reement to the other Partv

o  Waiver. No delav or failure to exercise anv remedv or riqht occurrino uoon
anv default shall be construed as a waiver of such remedv or riqht. or an
acquiescence in such default. nor shall it affect any subseouent default of the

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same or a different nature

o  Counterparts. This Aqreement mav be executed in counterparts and each
such counterpart, when taken tooether. shall constitute a sinqle and bindino
aqreement.

.   Governinq Law: Venue. This Aqreement shall be qoverned bv and construed
in accordance with the laws of New York State. without oivinq effect to the rules
of conflicts of law thereof. Each Partv to this Aqreemenl herebv aqrees and
consents that anv leqal action or proceedinqs with respect to this Aqreement
shall onlv be brouqht in the courts of New York State located in Suffolk Countv.
Bv execution and deliverv of this Aqreement, each such Partv herebv: (i) accepts
the iurisdiction of the aforesaid courts: (ii) waives, to the fullest extent permitted
bv law, anv obiection which it may now or hereafter have to the venue set forth
above: and (iii) further waives anv claim that anv such suit, action or proceedinq
brouqht in anv such court has been brouoht in an inconvenient forum.

.  Leqal Representation: No Partv Considered Drafter. Each Partv to this
Aqreement acknowledqes that iyshe has been advised of its/her riqht to be
represented bv independent leqal counsel of its/her own selection in connection
with the neqotiation, review and execution of this Aqreement. No Partv hereto
shall be considered to be the drafter of this Aqreement or anv oaraoraph or term
hereof and no presumption shall applv to anv Partv as the "drafter."

     Covenant Not To Compete.

     ln exchanqe for the consideration set forth hereinabove SELLER in           its
coroorat e sta US ANd Dr. Edwardo M. Yambo MD in his personal status aorees
that iUhe will not directlv or indirectlv en oaoe in the practice of medicine other
than em        ent with Bu f on for our atient services commenctn           nof e
date of Close of Sale, within a radius 5 MILES of the subiect SELLER'S Practice
Assets for a Deriod of Five (5) vears. ln addition . SELLER aoqress not to solicit
or treat any patients who have been, or are curren tlv beinq treated with the
SELLER'S practice, and SELLER further covenants that SELLER will not, durinq
the term of Covenant, directly or indirectlv include any former patients of
SELLER's practice or the referrinq sources of SELLER's practice solicit or induce
anv of Practice's current emolovees to leave or chanqe emplovment, and
SELLER exoresslv aqrees not to solicit , hire or provide emplovment for any of
Practice's current employees, rehired bv Purchaser , for the period of Three vears

     Letters of Announcement and lntroduction


SELLER agrees to cooperate with BUYER in sending letters of announcement
and introduction that are mutually agreeable to the parties, to all referring
sources and to parties of record active within Ten (10) days of Close of Sale.
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(Costs incurred in sending such letter and announcements are to be borne by
BUYER)

     Risk of Loss

It is understood by the parties that the risk of loss, injury or destruction of any
and all assets transferred hereunder by any cause whatsoever, at all times
subsequent to the Close of Sale as set forth in this contract, is assumed by the
BUYER-

     Duty to Maintain Supplies

SELLER agrees to transfer all supplies on hand to BUYER on the Close of Sale
as set forth in this contract. ln addition, SELLER shall maintain the supply level
as is normal and customary until the Close of Sale and will make best efforts to
have such levels in place prior to close of sale.

     Accounts receivable

Under no circumstances the buyer shall be responsible in any way to make any
efforts to collect funds on behalf of the seller. Notwithstanding the foregoing, all
receivables from dates of service prior to that of the closing are due to the Seller.

SELLER agrees that all remote connection, login and password information, if
any, will be provided to BUYER upon the successful Close of Sale. SELLER
further agrees that he will not access any practicc computers, emails etc. upon
the successful Close of Sale.

a    SURVIVAL

       All of the representations given hereinabove by both the buyer and seller
shall survive the closing.

    Amendment.

        This Agreement shall not be amended, altered, or terminated except by a
writing executed by each Party.
                            SIGNATURE PAGE TO FOLLOW




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       lN WITNESS WHEREOF, the Parties have executed this Agreement as of
the date first written above.

                                      Seller:

                                      Edwardo M. Yambo MD, P.C.
                                      Debfor-rn-Possesslon




                                      BY
                                                                     ct-oto ?U0 nC
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           nt


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                                      lndividuallv




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                                      CareMed Primary and Urqent Care P.C

                                      Bv:
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c3oaolvi




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EXHIBIT'A"



                                PATIE NT LIST




 AVAILABLE UPON REQUEST




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EXHIB IT'B'




                              FURNITURE AND EOUIPMENT



13 Telephones
15 Computer Monitors and 13 CPUs, 2 Laptops
'15 Keyboards, 8 Scanners
5 Printers 1 Kyocera FS-6525MFP Photo Copy Machine
1 Brother MFC-12750DW Fax Machine
1 Dell Unit for Security Cameras
2 Shredders and 1 Laminator
1 Large Freezer - Frigidaire (Lab) 1 RefrigeralorlFreezer - Frigidaire (Lab)
1 Smaller Refrigerator/Freezer - Avanti (Lab) 1 RefrigeralorlFree2er - Avanti (for Kitchen)
3 Executive Desks (1 L Shape w/wood file cabinet) 2 Floor Heaters 1 Copier Desk
3 Table Top Desks, 1 Glass Top Desk, 2 Folding Tables, 2 Small Storage Cabinets
4 Wooden Cabinets (exam rooms) 3 Four Drawer File Cabinets 4 Two Drawer File Cabinets
30 Reception Chairs 1 Executive Chair & 1 Bench Unit
4 Exam Tables, I Side Chairs, 4 Swivel Stools, 4 Step Stools, 4 scales
4 - Wall Equipment for Each Exam Room
1 Sterilizer 2 Lab Stools
2 Wall Thermometers
2 Rolling Blood Pressure Monitors
2 Printer in Lab
1 Blood Spinner
6 Large File Cabinets




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EXHIBIT "C"


                      BILL OF SALE AND ASSIGNMENT



      FOR VALUE RECEIVED, Edwardo M. Yambo MD P.C (the "Seller") does
hereby sell, assign and transfer to CAREMED PRIMARY AND URGENT CARE
PC (the "Buyer"), pursuant to that certain Asset Purchase Agreement, by and
among Seller and Buyer, made on November 19th, 2018 (the "Asset Purchase
Agreement"), certain Assets related to Seller's Bayshore Office as defined in the
Asset Purchase Agreement.


      lN   WITNESS WHEREOF, Seller has executed and delivered this
instrument to be effective as of December 1st, 2018.


                                               Edwardo M. Yambo MD P.C




                                               Dr. E     rdo M . Yambo MD
                                               President




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EXHIBIT "D"

                          LEASE AGREEMENT


                                (See attached)




AVAILABLE UPON REQUEST




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EXHIBIT "E'


                        EMPLOYEE CONTRACTS




                                  None




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EXHIBIT "F"



              MEDICAL RECORD S CUSTODY AGREEMENT




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                    M EDICAL RECORDS CUSTODY AGREEMENT

      THIS MEDICAL RECORDS CUSTOJDY AGREFMENT (this "Aqreement"),
is  made and entered into as              ol
                                           y'4/Lr / {       E2o1g (the 'closinq
Date') by and between Caremed Primary and Urgent Care PC, located at 266
Middle Country Road, Coram NY 11727 (hereinater as "Buve/'), and Edwardo M.
Yambo MD P.C. (P.C.'), Dr. Edwardo Yambo MD, located at 41 Brentwood Road,
Bay Shore, New York 1 1706 (together with its designee(s) or successors, including
any bankruptcy trustee or liquidating trustee, however denominated, the "Selle/')
(the Buyer and the Seller being hereinafter individually referred to as a "Partv"
and collectively refened to as the "Parties').

       WHEREAS, the Buyer is purchasing certain assets of the Seller; and upon
the closing ("Closinq Date") of the Asset Purchase Agreement dated January                _,
2019 ('APA"), the Parties desire to facilitate continuity of care for the P.C.'s
current and former patients by having the Buyer take custody of such patients'
electronically-stored medical records, on the terms and conditions set forth herein.

        NOW, THEREFORE, for good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the Parties, intending to be legally
bound hereby, agree as set forth below.

1. Records. The term "BCS9(!9," as used in this                 Agreement shall mean the
     electronic medical records of the P.C.

2.   Custodial Aqreement         The Seller hereby appoints the Buyer, and the Buyer
     agrees    to serve, as custodial agent of the Seller with respect to                 the
     maintenance and safekeeping of the Records and the provision of access to
     such records for patients and/or their new providers. Commencing on the
     Closing Date, the Buyer shall maintain the Records as custodian for the Seller
     for the minimum period required by law (the 'B9!ediS!_lCd9d"). During the
     Retention Period, the Buyer and Seller agree that:


        a.   Seller shall notify all of Seller's patients, by first-class mail, signage at its
             facility and notation on its website, at least thirty (30) days in advance of
             the Closing Date, that it will no longer be providing care to patients after
             a date agreed upon by the Parties and subject to agreement by the NYS
             Department of Health. With the notice sent to patients, Seller shall also
             notify patients that Buyer is maintaining custody of the Seller's medical
             records and provide instructions for patients to authorize transfer of their
             medical records to Buyer or to another provider. Should Seller receive
             any authorizations from patients for release or transfer of medical
             records, Seller shall send a copy of such to Buyer. Buyer shall comply
             with any authorization and only with respect to the specific Records
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             addressed in the authorization.
        b. The Buyer shall retain copies of any       Records transferred pursuant to
             Section 2(a) hereof. Buyer shall provide the Seller with information as to
             where Records were transferred upon request.
        c.   Prior to destroying or othenrvise disposing of a Record or Records upon
             expiration of the Retention Period, the Buyer shall send to the Seller
             written notice (a "Buver's Deskuction Notice") of its intent to destroy or
             dispose of Records. Buyer's Destruction Notice shall provide the Seller
             with thirty (30) calendar days to respond ('Seller's Response Time") to
             the Buyer with the Seller's direction as to whether or not the Seller
             intends to take possession of all or any of the records in lieu of the
             destruction. Upon the expiration of the Seller's Response Time, the
             Seller shall either take possession of the Records or direct the Buyer to
             go forward with the destruction. lf the Buyer does not receive a response
             from the Seller within the Seller's Response Time, the Buyer may
             proceed with the contemplated destruction.
        d.   The Buyer shall maintain the confidentiality of all of the Records for which
             it serves as custodian hereunder in accordance with all applicable laws
             and, to the extent applicable, the terms of the APA;
        e.   Upon the reasonable written request of the Seller, the Buyer shall
             provide the Seller with access to the Records pursuant to the terms of
             the APA;
        f.   The Buyer shall provide timely access to, and photocopies of, the
             Records to patients and their legal representatives or designees upon
             request;
        g.   Upon the expiration of the Retention Period in relation to Records, the
             Buyer shall provide a Buyer's Destruction Notice to the Seller.

3.   Buver's Use and Access to Recqrls. lf Records are transferred to the Bu yer
     pursuant to patient authorization, the Buyer shall be entitled to access and use
     all Records for any legitimate business purpose of the Buyer, subject to
     applicable privacy or confldentiality laws and regulations, and shall no longer be
     required to maintain a copy of such Records pursuant to paraqraph 2(b) herein.
     Until such time, Buyer shall access the Records only for payment or healthcare
     operations and only as necessary for such purposes.

4. Compliance with Process.           Notwithstanding any other provision of this
     Agreement, the Buyer shall not be required to seek a protective order or any
     other form of relief with respect to any administrative or judicial process seeking
     the production of Records and shall be entitled to rely upon the lawfulness of
     any such process.


5.   lndemnification.
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        a.   Bv the Buver. The Buyer will indemnify and hold the Seller and its
             employees, agents and affiliates harmless from any and all claims,
             actions, liabilities and expenses (including costs           of judgments,
             settlements, court costs and reasonable attorneys' fees, regardless of the
             outcome of such claim or action) caused by, resulting from or alleging the
             Buyer's negligence or intentional misconduct in the performance of its
             obligations under this Agreement causing damages to the Seller.
        b.   Bv the Seller. The Seller will indemnify and hold the Buyer and its
             members, directors, officers, employees, agents and affiliates harmless
             from any and all claims, actions, liabilities and expenses (including costs
             of judgments, settlements, court costs and reasonable attorneys' fees,
             regardless of the outcome of such claim or action) caused by, resulting
             from or alleging the Seller's negligence or intentional misconduct causing
             damages to the Buyer.
        c.   Any claim for indemnification under this Agreement shall be handled in
             accordance with the indemnification procedures set forth in the APA. The
             indemnification obligations of the Parties set forth in this Section 5 shall
             survive termination of this Agreement and continue for a period of six (6)
             years from the date of this Agreement.

6.   Term and Termination.

        a. Term.  This Agreement shall commence on the date first wriften above
           and shall continue until the expiration of the Retention Period for all
           Records or as sooner provided for herein.
        b. Termination bv Consent. This Agreement may be terminated at any time
           upon wriften consent by both Parties specifying the effective date of
             termination.
        c.   Termin       for Breach. Either Pa rty may terminate this Agreement if the
             other Party is in default or breach of any material term or condition hereof
             which default, breach or failure has been duly noticed and has not been
             cured within thirty (30) days of the date of receipt of a notice of breach or
             default by the Party to be so noticed.

7.   Effectiveness. Notwithstandi ng anything to the contrary herein, the Parties
     hereby acknowledge and agree that this Agreement and its terms, conditions,
     obligations and responsibilities in all respects shall be (i) subject to approval by
     the United States Bankruptry Court for the Eastern District of New York in the
     Chapter 11 bankruptcy case of the Seller, and of no effect if not so approved,
     (ii) effective only upon and subject to the terms of the attached APA between
     Seller and Buyer, and (iii) effective only to the extent closing on the APA shall
     have occurred.

8.   Miscellaneous.
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   a. Notice. Any notice,     demand or communication required, permitted, or
      desired to be given under this Agreement shall be communicated to the
      Party to receive the notice at the address for such Party specified in the
      first paragraph above.
   b. Assiqnability; Parties-in-lnterest. This Agreement shall inure to the
      benefit of, and be binding upon, the Parties hereto and their respective
      successors and permitted assigns. Neither this Agreement nor the
      obligations of any Party hereunder shall be assignable or transferable by
      such Party without the prior written consent of the other Parties hereto,
      which consent shall not be unreasonably withheld. This Agreement is for
      the sole and exclusive benefit of the Parties to this Agreement and their
      successors and assigns, and nothing in this Agreement is intended to
      confer, expressly or by implication, upon any other Person (as that term
      is defined in title 11 of the United States Code $$ 101 ef seg.) any legal
      or equitable rights, remedies or claims under or by reason of this
      Agreement.
   c. Governinq Law. This Agreement shall be governed by, and construed
      and enforced in accordance with, the laws of the State of New York,
      without giving effect to principles of conflicts of laws. Each Party agrees
      to the ln personam jurisdiction of the state and federal courts resident in
      New York.
   d. Counterparts This Agreement may be executed simultaneously in one
      or more counterparts, each of which shall be deemed an original, with the
      same effect as if the signatures thereto and hereto were upon the same
      instrument. This Agreement may be executed and delivered by exchange
      of facsimile, JPEG, TlF, or PDF copies showing the signatures of the
      parties hereto, and those signatures need not be affixed to the same
      copy. The facsimile, JPEG, TlF, or PDF copies showing the signatures
      of the Parties will constitute originally signed copies of the same
      Agreement requiring no further execution. This Agreement shall
      become effective when each Party shall have received a counterpart
      signed by the other Party.
   e Amendments and Waivers. The Parties hereto may: (i) extend the time
      for the performance of any of the obligations or other acts of the Parties
      hereto; (ii) waive compliance with any of the covenants or agreements
      contained in this Agreement; or (iii) amend this Agreement, if and only, in
      the case of an extension or amendment, such action is set forth in a
      written agreement signed by all Parties, or, in the case of a waiver, if
      such waiver is signed by the Party against whom the waiver is to be
      effective.
   f. Severability. An y portion or provision of the Agreement that is
      determined to be invalid, illegal or unenforceable in any jurisdiction shall,
      as to that jurisdiction, be ineffective to the extent of such invalidity,
      illegality or unenforceability, without affecting in any way the remaining
      portions or provisions hereof in such jurisdiction or, to the extent
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             permitted by law, rendering that or any other portion or provision of the
             Agreement invalid, illegal or unenforceable in any other jurisdiction. The
             Parties furthermore agree to execute and deliver such amendatory
             contractual provisions to accomplish laMully as nearly as possible the
             goals and purposes of the provision so held to be invalid, illegal or
             unenforceable.
         s   Complete Aqreement. This Agreement and the documents delivered
             pursuant hereto or referred to herein contain the entire agreement
             between the Parties hereto with respect to the mafters contemplated
             herein and supersede all previous negotiations, commitments and
             writings.

      lN WITNESS WHEREOF, the Parties hereto have caused this Agreement to
be executed as of the date first above written.




CAREMED PRIMARY AND           URGENT EDWARDO           M. YAMBO MD P.C.
CARE, P.C.
             Ll   +,L;                                                        r/tc /<L
By:                                                           : Dr.    rdo Yambo MD
Title:                                                    Title:
